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                                                                              USDC SDNY
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UNITED STATES DISTRICT COURT                                                  ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                 DOC #:
                                                                              DATE FILED: 11/5/2021
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 DAN MILLER and BOBBI VIEGAS MILLER, :
                                                                :
                                              Plaintiffs,       :
                            -against-                           :
                                                                :          21-CV-5968 (VEC)
 MORNINGSIDE ADVISORS, LLC, and                                 :
 ALFREDO CARRILLO,                                              :                ORDER
                                                                :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS an initial pretrial conference was scheduled for September 10, 2021, Dkt. 8;

        WHEREAS, when Defendants did not appear, answer, or otherwise respond to Plaintiff’s

complaint, the Court canceled that conference and ordered Plaintiffs to move for default

judgment, Dkt. 11, which they did, see Dkts. 18–20; and

        WHEREAS Defendant Carrillo has appeared, see Dkt. 31;

        IT IS HEREBY ORDERED that an initial pretrial conference is scheduled for December

17, 2021 at 3:00 p.m. The parties’ joint submission is due by December 9, 2021. The parties

should appear for the conference by dialing 888-363-4749, using the access code 3121171 and

the security code 5968.

        The Clerk of Court is respectfully directed to mail a copy of this order and docket entry 8

— the Court’s order setting the original initial pretrial conference — to Defendant Carillo at

Alfredo Carillo, 626 Flatbush Avenue, Apt. 17A, Brooklyn, NY 11225.



SO ORDERED.
                                                                    ________________________
                                                                    ____
                                                                      _ ________________  ______
                                                                                          __
Date: November 5, 2021                                                VALERIE CAPRONI
                                                                                  CAPRON ONI
                                                                                         ON
      New York, New York                                             United States District Judge
